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                COMPOSITE
                   EXHIBIT 2
     (FILE UNDER SEAL)
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                                                                                                  Page 1
                             IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL
                                CIRCUIT IN AND FOR PALM BEACH COUNTY, FLORIDA
                                       CASE NO:502008CA028051XXXXMB AB


                             L.M.

                                                 Plaintiff,


                             -vs-
                             JEFFREY EPSTEIN
                             AND SARAH KELLEN,

                                       Defendants.
                             ______________________________/


                                                   DEPOSITION OF JANUSZ BANASIAK


                                                       Tuesday, February 16, 2010
                                                           10:09 - 2:30 p.m.



                                                    250 Australian Avenue South
                                                             Suite 1500
                                                   West Palm Beach, Florida 33401




                             Reported By:
                             Cynthia Hopkins, RPR, FPR
                             Notary Public, State of Florida
                             Prose Court Reporting
                             Job No.: 1317




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                                                                                                    Page 56
              1                         Q.        Is your computer in your office --

              2                         A.        Yes.

              3                         Q.        Let me finish.       Is the computer in your

              4               office linked up with the three computers that were

              5               removed from the house?                 Meaning, can you look at

              6               the system and see what is on those three computers?

              7                         A.        No, no.

              8                         Q.        Is it your understanding that those three

              9               computers are linked with one another or do you

            10                know?

            11                          A.        I don't know, but I, I doubt it.      They are

            12                separate I guess.

            13                          Q.        Okay.       Were you aware that Mr. Epstein

            14                used a Citrix program to link various computers?

            15                Did you know that?

            16                          A.        Yeah.       I use Citrix too in my computer for

            17                exchanging e-mails and get through Internet.

            18                          Q.        Okay.       So, is it your understanding that

            19                the only connection then through Citrix with these

            20                computers, these various computers that were in

            21                Mr. Epstein's home, was for e-mail purposes?

            22                          A.        Yes.

            23                          Q.        Okay.       To your knowledge, you're not

            24                familiar with those computers sharing other files or

            25                information?


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                                                                                                     Page 57
              1                         A.        No.

              2                         Q.        That's not something that you were, you

              3               were privy to?                  You weren't, you weren't in the loop

              4               of the sharing of information in the house in terms

              5               of the computers being connected through any server?

              6                         A.        I don't really know what, how, how to answer

              7               your question because Citrix is for the whole

              8               organization to exchange e-mail between employees.

              9                         Q.        All right.       You used the term?

            10                          A.        So, even my computer is connected to Citrix.

            11                I can receive mail and I can e-mail information to

            12                employee within organization.                 But I don't know if you

            13                can see to each computer what is going on on another

            14                computer.

            15                          Q.        You don't know about --

            16                          A.        Is that your question?

            17                          Q.        You don't know about shared files?

            18                          A.        No.

            19                          Q.        You only know that the one computer can

            20                e-mail the other?

            21                          A.        Right.

            22                          Q.        But that can happen with any two computers

            23                in the world pretty much.                 You can send e-mails to

            24                each other, right.

            25                          A.        Yes.


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                                                                                                  Page 58
              1                         Q.        You have used the term organization, you

              2               can share within the organization.               What do you --

              3               just so I can understand what you're calling the

              4               organization, what do you mean by that word?

              5                         A.        People employed by Jeffrey Epstein.      There are

              6               a few groups of people, his office in New York and I

              7               guess --

              8                         Q.        Who are those people by name that you

              9               would consider within the Jeffrey Epstein

            10                organization?

            11                          A.        His accountant, his --

            12                          Q.        Who is that?

            13                          A.        Bella Klen.

            14                          Q.        What is it?

            15                          A.        Bella Klen.    K-l-i-n.   E-n, I'm sorry.

            16                          Q.        Bella, B-e-l-l-a?

            17                          A.        Yes.

            18                          Q.        Is that somebody in New York?

            19                          A.        Yes.

            20                          Q.        Is that a male or female?

            21                          A.        Female.

            22                          Q.        And you understand that's his accountant?

            23                          A.        Right.

            24                                    MR. GOLDBERGER:   Just to get the spelling

            25                          correct is it K-l-e-i-n?


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                                                                                                    Page 60
              1                                   THE WITNESS:       I don't know.

              2               BY MR. EDWARDS:

              3                         Q.        We'll go back to that but I tell you why I

              4               ask.        If you don't know then you don't know, but in

              5               the course of Mr. Epstein's -- you're aware that he

              6               did plead guilty to a couple felonies in state

              7               court, right?

              8                         A.        Right.

              9                         Q.        Well, in the course of the negotiation

            10                with the federal government and the U.S. Attorney's

            11                Office, they, the agreement between Mr. Epstein and

            12                the U.S. Attorney's office mentions people that are

            13                called co-conspirators of Epstein.                And Leslie Groff

            14                is named as one of those co-conspirators.

            15                                    Do you know what involvement, if any, that

            16                she had with the crimes that were being

            17                investigated?

            18                          A.        No.

            19                          Q.        Okay.

            20                          A.        I am not aware of this.

            21                          Q.        Okay.       The other people mentioned as

            22                co-conspirators are Sarah Kellen, Adriana Ross, and

            23                Nadia Marcinkova.                So we'll get to them in a minute

            24                but first just so we stay on the track of who was in

            25                the organization, is Sarah Kellen, Adriana Ross and


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                                                                                                      Page 61
              1               Nadia Marcinkova all people that you would also

              2               consider within the organization?

              3                         A.        Yes.

              4                         Q.        Okay.         So, we just added three more names

              5               to it.          Who else would you consider, Ghislaine

              6               Maxwell?

              7                         A.        Yes.

              8                         Q.        And who else?

              9                         A.        Who was working there?

            10                          Q.        Bella, Richard Kahn, Leslie Groff,

            11                Ghislaine Maxwell, Nadia, Sarah, Adriana.

            12                          A.        I think Harry was involved with the

            13                accounting.

            14                          Q.        Okay.

            15                          A.        I don't recall his last name.

            16                          Q.        Somebody else involved with the

            17                accounting?

            18                          A.        Yes.

            19                          Q.        Okay.        Any of those people that you just

            20                named, were any of those people that you just named

            21                the person that you described as the gentleman that

            22                assisted Adriana in removing the computers from the

            23                house prior to the search warrant being executed?

            24                          A.        No.         You mean the one who show up to do those

            25                computers?


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